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JOINT STIPULATION AND ORDER
TO DISMISS - 1
(C20-0368-ILR)

1 The Honorable James L. Robart
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8 UNITED STATES DISTRICT COURT
9 WESTERN DISTRICT OF WASHINGTON
10 AT SEATTLE
11 SURINDER SINGH,
. No. C20-0368-JLR
12 Plaintiff,
13 v. JOINT STIPULATION AND (
. PPROPOSED] ORDER TO DISMISS \ ||
14 JOHN WOLF,! Acting Secretary, WITHOUT PREJUDICE — OS
15 Department of Homeland Security;
GREGORY A. RICHARDSON, Director Noted for Consideration:
16 Texas Service Center, U.S. Citizenship and October 26, 2020
17 Immigration Services (USCIS); PHILLIP
SLATTERY, Director of the National
18 Visa Center (NVC), Department of State,
19 Defendants.
20
21
22 JOINT STIPULATION
23 This mandamus complaint seeks an order compelling Defendants to immediately
4 adjudicate Plaintiff's [-130 form Petition for Alien Relative filed on behalf of his spouse.
5 Complaint, Dkt. No. 1, 1. Defendants are adjudicating the petition. Further adjudication and
36 efforts may render the mandamus complaint moot.
27
28 ' Chad Wolf is the correct name of the Acting Secretary of the Department of Homeland Security.

UNITED STATES ATTORNEY
1201 PACIFIC AVE., STE. 700
TACOMA, WASHINGTON 98402
(253) 428-3800

 

 
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: 1 Therefore, the parties HEREBY STIPULATE AND AGREE that this case be
: 2 dismissed without prejudice to allow the ongoing administrative action to proceed. The parties
: 3 will bear their own fees and costs.
4
5 SO STIPULATED.
! Dated this 26th day of October, 2020.
6
7 | BRIAN T. MORAN
g United States Attorney
9 /s/ Patricia D, Gugin
PATRICIA D. GUGIN, WSBA #43458
10 Assistant United States Attorney
| rl United States Attorney’s Office
| 1201 Pacific Avenue, Ste. 700
| 12 Tacoma, WA 98402
Phone: 253-428-3832
13 | Fax: 253-428-3826 .
iA E-mail: pat.gugin@usdoj.gov
|
| 15 Attorneys for Defendants
; 16
! SO STIPULATED.
: 7 Dated this 26th day of October, 2020.
18
| 19 /s/ Bart Klein
| _._| BART KLEIN, WSBA #10909
| oa 605 First Avenue South, Suite 500
mI Seattle, WA 98104
: Phone. (206) 624-3787
32 E-mail: bart.klein@bartklein.com
23 Attorney for Plaintiff
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26
27
28

 

JOINT STIPULATION AND ORDER
TO DISMISS - 2
(C:20-0368-JLR)

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(253) 428-3800

 

 
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ORDER

The parties having so stipulated, the above is SO ORDERED. Plaintiff's complaint is

dismissed without prejudice, with the parties to bear their own fees and costs.

DATED .-this qe

 

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C2908

JAMES L. Ei

 

United Stat¢s District Judge

 

 

JOINT STIPULATION AND ORDER
+O DISMISS - 3
(C20-0368-JLR)

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